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                   IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAI‘I



  THE BANK OF NEW YORK                        Case No. 17-cv-00297 DKW-RLP
  MELLON FKA THE BANK OF NEW
  YORK, AS TRUSTEE FOR THE
  CERTIFICATEHOLDERS OF THE                   ORDER AWARDING DAMAGES
  CWMBS INC., CHL MORTGAGE                    TO AND DIRECTING THE ENTRY
  PASS-THROUGH TRUST 2006-OA5,                OF JUDGMENT IN FAVOR OF
  MORTGAGE PASS THROUGH                       PLAINTIFF
  CERTIFICATES, SERIES 2006-OA5,

               Plaintiff,

        vs.

  LEN C. PERRY JR.,
  NATHAN JON LEWIS, and
  3925 KAMEHAMEHA RD
  PRINCEVILLE, HI 96722, LLC,

               Defendants.



       On September 11, 2018, this Court granted Plaintiff The Bank of New York

 Mellon’s motion for summary judgment on its claims for quiet title and slander of

 title, and request for declaratory relief against Defendants Len C. Perry, Nathan J.

 Lewis, and 3925 Kamehameha Rd Princeville, HI 96722, LLC (“the LLC,” and,

 together with Perry and Lewis, “Defendants”). Thereafter, Plaintiff stipulated to

 the dismissal of its other causes of action and, during a status conference, the
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 parties agreed to submit the sole remaining issue of damages on the briefs. Those

 briefs (including supplemental filings) have now been submitted. Because

 Plaintiff has established its entitlement to damages, the Court awards damages as

 set forth below. In addition, Perry and Lewis have each filed motions to dismiss

 and motions to clarify the September 11, 2018 Order. Because Perry and Lewis

 have failed to show that this case should be dismissed or that the September 11,

 2018 Order requires clarification, those motions are denied.

                                        DAMAGES1

        Plaintiff seeks damages on the slander of title claim for which it was granted

 summary judgment. Dkt. No. 95 at 2-9. In Hawaii, the common law tort of

 slander of title requires a party to establish “special damages” proximately

 resulting from a slander of title. Isobe v. Sakatani, 279 P.3d 33, 42-43 (Haw. Ct.

 App. 2012) (citing 50 Am. Jur. 2d Libel and Slander § 530 (2006); B&B Inv. Grp.

 v. Gitler, 581 N.W.2d 17, 20 (Mich. Ct. App. 1998)). Although the Hawaii courts

 have not extensively discussed the damages recoverable in an action for slander of

 title, the authorities to which the Isobe court cited provide some illumination.

 Specifically, attorney’s fees and lost rent, both of which Plaintiff seeks here, are


 1
 The Court adopts the factual and procedural background set forth in the September 11, 2018
 Order.

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 recoverable. See 50 Am. Jur. 2d Libel and Slander § 534 (explaining that a

 plaintiff may recover “the attorney’s fees incurred in removing the cloud upon the

 plaintiff’s property title.”); B&B Inv. Grp., 581 N.W.2d at 20 (stating that special

 damages include loss of rent). In their initial and supplemental oppositions, Dkt.

 Nos. 96, 99, 109, 111,2 neither Perry nor Lewis challenge the principle that a

 plaintiff is entitled to attorney’s fees or lost rent as special damages in a slander of

 title claim if those damages are proven. As a result, for purposes of this case, the

 Court finds that Plaintiff may recover the attorney’s fees it has incurred and the

 rent it has lost as a result of Defendants’ slander of title.

        In its damages brief, Plaintiff seeks $126,500 in lost rent and $34,687.75 in

 attorney’s fees, for a total of $161,187.75 in special damages. In their initial

 oppositions, Dkt. Nos. 96, 99, neither Perry nor Lewis challenge Plaintiff’s

 calculation of the amount of damages to which it is purportedly entitled or whether

 the purported damages proximately resulted from their slander of title. In their

 supplemental oppositions, however, Perry and Lewis, in near identical fashion,




 2
 Lewis has filed two almost identical supplemental oppositions, Dkt. Nos. 110, 111, one of
 which is unsigned, Dkt. No. 110. The Court, therefore, only refers to the signed version, Dkt.
 No. 111.

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 argue that Plaintiff is not entitled to lost rent. The Court addresses those

 arguments below.

        Turning to attorney’s fees first, although Perry and Lewis do not challenge

 Plaintiff's calculation of its attorney’s fees, the Court nevertheless finds that

 Plaintiff has established its entitlement to damages for attorney’s fees. Plaintiff

 asserts that it has been represented by two law firms, lead counsel in California and

 local counsel in Hawaii, and, in total, those firms have spent 154.9 hours in

 bringing this case. The total number of hours spent on bringing this case is

 supported by the Declaration of Neeru Jindal, Dkt. No. 95-7 at ¶¶ 9-10, and the

 amount of attorney’s fees Plaintiff has incurred in bringing this case is supported

 by the same Declaration as well as by an exhibit listing the amounts paid on

 various invoices to Plaintiff’s lead counsel, see id. at ¶ 5; Dkt. No. 95-6.3

 Because Perry and Lewis do not challenge these amounts in any way, the Court

 finds that they are sufficiently supported by the record presented, and further finds

 that Plaintiff is entitled to $34,687.75 in special damages for attorney’s fees

 incurred in bringing this case.



 3
  More specifically, with respect to the exhibit, the amount of attorney’s fees incurred is
 supported by adding the total of the numbers in the “Net” column through the October 4, 2018
 “Invoice Date.” See Dkt. No. 95-6.

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       With respect to lost rent, Plaintiff asserts that the fair market rental value of

 the real property at 3925 Kamehameha Road, Princeville, Hawaii (“the

 Property”)−the property at issue in this case−was $5,000 per month from

 November 9, 2016 through May 31, 2018, and $5,500 per month from June 1,

 2018 through December 1, 2018. These assertions are supported by the

 Declaration of Donna Holevoet, a broker with “first-hand knowledge” of the real

 estate market in Princeville, Hawaii. See Decl. of Donna Holevoet at ¶¶ 1, 7, 9,

 10, Dkt. No. 95-1.

       In their initial oppositions, Perry and Lewis made no challenge to Ms.

 Holevoet’s representations of the fair market rental value of the Property or her

 qualifications to do so. In their supplemental oppositions, Perry and Lewis still

 do not challenge Ms. Holevoet’s qualifications, but they do (in a roundabout way)

 challenge the fair market rental value of the Property. More specifically, Perry

 and Lewis both argue that, when they took possession of the Property, it was not in

 rentable condition, they invested over $65,000 and 1,000 man hours in the

 Property, and they increased the value of the Property by $1 million. Other than

 purported pictures of the Property before and after they took possession, though,

 Perry and Lewis provide no evidence for their assertions. In addition, the

 assertions do not refute Ms. Holevoet’s statements that, on November 9, 2016, the

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 fair market rental value of the Property was $5,000. Moreover, the Court has

 already found that Plaintiff is the owner of the Property and Perry and Lewis have

 no valid legal claim to the same. Dkt. No. 64 at 11-14. In that light, the

 purported fact that they invested capital in a property without consent and to which

 they did not own can only be considered folly.

        This leaves the amount of rent Plaintiff has lost as a result of Defendants’

 slander of title. Plaintiff asserts that the total amount of lost rent is $126,500. If

 the fair market rental values provided by Ms. Holevoet are multiplied by the days

 and months from November 9, 2016 through December 1, 2018, Plaintiff is correct

 that the total equals $126,500.4 However, because it was not clear from

 Plaintiff’s damages brief as to what evidence in the record it was relying to support

 the contention that it was unable to collect rent on the Property beginning

 November 9, 2016, the Court ordered supplemental briefing on that matter. In its

 supplemental response, Plaintiff relies on a Supplemental Declaration of Ms.

 Holevoet. Dkt. Nos. 108, 108-1. In her Supplemental Declaration, Ms.

 Holevoet states that Plaintiff retained her in June 2015 to market the Property for



 4
  The calculation is essentially: ($5,500 multiplied by 6−for the months of June 2018 through
 November 2018) plus ($5,000 multiplied by 18−for the months of December 2016 through May
 2018) plus $3,500 (for the 21 days left in November 2016 following the ninth of that month).

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 sale, she conducted weekly walkthroughs of the Property, during her walkthrough

 on September 27, 2016, she noticed that the lockbox had been removed and the

 locks changed, and, at around the same time, she discovered that utility services

 had been changed from her company’s name. Suppl. Decl. of Donna Holevoet at

 ¶¶ 7-9, Dkt. No. 108-1. Ms. Holevoet further states that, following her October 3,

 2016 walkthrough, she noted that the Property had been removed from the market,

 utilities had been transferred, and there had been a purported substitution of the

 trustee. Id. at ¶ 10. In addition, following her November 28, 2016 walkthrough,

 Ms. Holevoet recorded that there was a no trespassing sign on the front door of the

 Property and papers had been posted stating that there had been a full

 reconveyance. Id. at ¶ 11. Ms. Holevoet further states that Lewis began renting

 the Property at least by January 2017. Id. at ¶¶ 12-15. In light of this evidence,

 including the changing of locks in September 2016 and Lewis’ renting of the

 Property, the Court finds that as of at least November 9, 2016, Plaintiff was unable

 to rent the Property due to Defendants’ activities connected to the slandering of its

 title and those damages continued through December 1, 2018.

       In their supplemental oppositions, Dkt. Nos. 109, 111, the only argument

 Perry and Lewis make as to why Plaintiff should not be awarded damages for lost

 rent is that, because Plaintiff is not registered to do business in Hawaii and because

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 collecting rent is doing business, Plaintiff could not have collected the rent it

 purportedly lost. Perry and Lewis, though, provide no legal support for this

 argument. Moreover, given that Ms. Holevoet has stated that Plaintiff retained

 her and she has been a licensed real estate broker in Hawaii since 2001, see

 Holevoet Suppl. Decl. at ¶¶ 3, 7, Perry and Lewis’ argument is of little merit, see

 Haw. Rev. Stat. § 467-1 (providing that a real estate broker is any person who,

 inter alia, “leases or offers to lease, or rents or offers to rent, or manages or offers

 to manage, any real estate, or the improvements thereon, for others, as a whole or

 partial vocationˮ).

       As a result, the Court finds that Plaintiff is entitled to $126,500 in special

 damages for lost rent due to Defendants’ slander of title to the Property. When

 combined with the special damages for attorney’s fees incurred in bringing this

 case, the Court finds that Plaintiff is entitled to a total damages award of

 $161,187.75.

                              Perry and Lewis’ Motions

       At the same time as filing their initial oppositions to Plaintiff’s damages

 brief, Perry and Lewis also each filed separate motions to dismiss and motions to

 clarify the September 11, 2018 Order. Dkt. Nos. 97, 98, 100, 101.



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       As for the motions to clarify the September 11, 2018 Order, Dkt. Nos. 98,

 101, Perry and Lewis do not identify anything in the September 11, 2018 Order

 that requires clarification. As a result, the motions to clarify are DENIED.

       As for the motions to dismiss, Dkt. Nos. 97, 100, Perry and Lewis, in

 identical fashion, argue that this case should be dismissed because Plaintiff is not a

 Delaware corporation and is a non-existent entity. To the extent Perry and Lewis

 make this argument in an attempt to challenge the substantive merits of Plaintiff’s

 claims, it is now far too late for them to do so, given that the time to file dispositive

 motions expired long ago. See Dkt. No. 32 (setting the dispositive motion

 deadline for May 23, 2018). To the extent Perry and Lewis’ argument can be

 construed as challenging the subject matter jurisdiction of this Court because the

 same is premised upon diversity, the Court rejects such an argument. Although

 Perry and Lewis appear to accurately assert that, contrary to the Complaint,

 Plaintiff is not a Delaware corporation, the Complaint also alleged that Plaintiff is

 headquartered in and is a citizen of New York. See Compl. at ¶ 1, Dkt. No. 1; see

 also Dkt. No. 106 (acknowledging that Plaintiff is not a Delaware corporation).

 Perry and Lewis do not challenge Plaintiff’s New York citizenship in their motions

 to dismiss. As a result, because Plaintiff is a citizen of a State different from the



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  citizenship of all Defendants, this Court still has subject matter jurisdiction over

  this case based on diversity.

        For these reasons, the motions to dismiss are DENIED.

                                    CONCLUSION

        For the reasons set forth herein, Plaintiff is awarded damages in the total

  amount of $161,187.75. Perry and Lewis’ Motions in Opposition, Dkt. Nos. 96,

  99, Motions to Dismiss, Dkt. Nos. 97, 100, and Motions to Clarify Order Granting

  Plaintiff’s Motion for Summary Judgement, Dkt. Nos. 98, 101, are DENIED.

        The Clerk is ORDERED to enter Judgment in favor of Plaintiff in the

  amount of $161,187.75, and then close this case.

        IT IS SO ORDERED.

        DATED: January 22, 2019 at Honolulu, Hawai‘i.




  The Bank of New York Mellon v. Perry et al., Case No. 17-cv-00297 DKW-RLP; ORDER
  AWARDING DAMAGES TO AND DIRECTING THE ENTRY OF JUDGMENT IN
  FAVOR OF PLAINTIFF




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